
JUSTICE HASSELL
delivered the opinion of the Court.
In this appeal, we consider whether the evidence is sufficient to support the circuit court’s order granting a natural mother’s petition to change the surname of her minor child.
The following undisputed facts were adduced during an ore tenus hearing. Linda Grandy is the natural mother of Elizabeth Nicole May, who was bom on January 14, 1987. Charles F. May is Elizabeth’s natural father.
*631Elizabeth lives with her mother, her stepfather whose surname is Grandy, and other family members. Elizabeth testified “that she had been asking her mom to have her name changed to the name of Grandy for the last four ... years.” Elizabeth stated that she would feel more a part of her family with whom she resided if she had the last name of Grandy.
Linda Grandy testified “that at no time had she ever hindered or obstructed Charles May from seeing his daughter, and in fact had encouraged a healthy relationship between the two.” Charles May agreed that he had “always received a congenial response to requests of visitation.” Elizabeth testified that “her father does not call or visit her, and that it had been 2V2 years since the last visit.” When Charles May was asked “why he had not exercised his right of visitation ... he stated it was due to his job schedule and traveling.” The evidence was uncontroverted that Charles May had not mistreated or abused Elizabeth, nor had he committed any act of misconduct toward her. He also testified that he had “never abandoned his daughter.” Charles May “did not want his child’s name changed to that of the step-father (Grandy).”
Following the hearing, the circuit court entered an order concluding that Elizabeth’s best interest would be served by granting the mother’s petition. Accordingly, the child’s surname was changed to Grandy.
On appeal, the father contends that the circuit court erred in ordering a change of Elizabeth’s name because “as the natural father [he] had committed no wrong against the child.” The father also asserts that the circuit court erred “in granting the name change on the basis of inconvenience or that the child might be embarrassed to have a different last name than her mother.” We disagree with the father’s contentions.
As relevant to this proceeding, Code § 8.01-217 provides that a parent desiring to change a child’s name may apply to the appropriate circuit court “which shall consider such application if it finds that good cause exists therefor under the circumstances alleged.” Code § 8.01-217 also states in relevant part:
“In case of a minor who has both parents living, the parent who does not join in the application shall be served with reasonable notice of the application and, should such parent object to the change of name, a hearing shall be held to deter*632mine whether the change of name is in the best interest of the minor.”
Code § 8.01-217 requires that the petitioning parent prove by satisfactory evidence that the change of name is in the child’s best interest. Rowland v. Shurbutt, 259 Va. 305, 308, 525 S.E.2d 917, 919 (2000); Beyah v. Shelton, 231 Va. 432, 434, 344 S.E.2d 909, 911 (1986); Flowers v. Cain, 218 Va. 234, 237, 237 S.E.2d 111, 113 (1977).
In Flowers, 218 Va. at 236-37, 237 S.E.2d at 113, we discussed the factors that we consider when applying the best interest test:
“Generally, a [name] change will be ordered only if (1) the father has abandoned the natural ties ordinarily existing between parent and child, (2) the father has engaged in misconduct sufficient to embarrass the child in the continued use of the father’s name, (3) the child otherwise will suffer substantial detriment by continuing to bear the father’s name, or (4) the child is of sufficient age and discretion to make an intelligent choice and he desires that his name be changed. But, ‘a change of name will not be authorized against the father’s objection ... merely to save the mother and child minor inconvenience or embarrassment.’ [Citations omitted].”
Accord Beyah, 231 Va. at 435, 344 S.E.2d at 911.
Viewing the evidence in the light most favorable to the mother, the prevailing party below, we hold that the evidence is sufficient to support the circuit court’s holding that the change of name is in the child’s best interest. Even though Charles May had not abandoned his child, the circuit court was certainly entitled to place great weight upon the fact that he “does not call or visit her, and that it had been 2V2 years since the last visit,” even though the mother sought to encourage “a healthy relationship” between Charles May and his daughter. Indeed, the father admitted that with the exception of one occasion, the mother “had never hindered or stopped him from seeing his daughter.” The circuit court also considered other factors, including Elizabeth’s desire to change her name, her age, and her level of maturity.
We recognize that a circuit court cannot change a child’s name because of minor inconvenience or minor embarrassment. We also recognize that a circuit court must not change a child’s name *633over the objection of the natural father solely because a child desires to bear that child’s stepfather’s surname. Rather, Code § 8.01-217 requires that a parent, who seeks to change a child’s surname over the objection of the other parent, demonstrate with satisfactory evidence that the requested name change is in the child’s best interest. The mother demonstrated with satisfactory evidence that the name change was in the best interest of Elizabeth and, consequently, we hold that the circuit court did not abuse its discretion in granting the name change. Accordingly, we will affirm the order granting the name change.

Affirmed.

